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              EXHIBIT 99
  Summary chart of Zuffa’s
   share of Ranked athletes




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                      ϮϬϭϭ ϮϬϭϮ             ϮϬϭϯ       ϮϬϭϰ       ϮϬϭϱ       ϮϬϭϲ               ϮϬϭϲ
ƵĨĨĂ^ŚĂƌĞ           ϭϱ͘Ϯй ϭϲ͘ϭй           ϭϱ͘ϱй      ϭϵ͘ϰй      Ϯϭ͘ϳй      Ϯϭ͘ϭй             ϭϴ͘ϭй

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ŶǇĂƚŚůĞƚĞǁŚŽŝƐƌĂŶŬĞĚĨŽƌĂŶǇƵĨĨĂďŽƵƚĚƵƌŝŶŐƚŚĞǇĞĂƌŝƐŝŶĐůƵĚĞĚŝŶƚŚĞŶƵŵĞƌĂƚŽƌŽĨƚŚĞƐŚĂƌĞĐĂůĐƵůĂƚŝŽŶ͘
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ĚĞŶŽŵŝŶĂƚŽƌŽĨƚŚĞƐŚĂƌĞĐĂůĐƵůĂƚŝŽŶ͘
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^ŽƵƌĐĞƐ͗
^ŝŶŐĞƌZĞƉŽƌƚĂĐŬƵƉ΀^ŚĞƌĚŽŐĞŶŽŵĨŽƌDĂƌŬĞƚ^ŚĂƌĞƐ͘ĚƚĂ΁
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